        Case 2:08-cr-00454-JAM Document 160 Filed 09/02/09 Page 1 of 2


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
   E mail: jaygreiner@midtown.net
 5
 6   ATTORNEY FOR DEFENDANT
     JUAN MENDOZA-CORRALES
 7
 8
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )               CR.-S-08-454-JAM
                                   )
12          PLAINTIFF,             )               STIPULATION AND
                                   )               ORDER CONTINUING THE
13          v.                     )               JUDGMENT AND SENTENCING
                                   )               DATE AND SETTING A STATUS
14   JUAN MENDOZA-CORRALES,        )               CONFERENCE /POTENTIAL
       et al.,                     )               JUDGMENT AND SENTENCING
15                                 )               DATE OF TUESDAY
            DEFENDANTS.            )               OCTOBER 27, 2009
16   _______________________________)
17
           Plaintiff United States of America, by its counsel, Assistant United States
18
     Attorney, Mr. Michael Beckwith and defendant, Mr. Juan Mendoza-Corrales, by his
19
     attorney, Mr. James R. Greiner, hereby stipulate and agree that the current Court date
20
     of Tuesday, September 8, 2009, can be vacated by the Court. The parties agree and
21
     stipulate that a status conference/potential judgment and sentencing date of Tuesday,
22
     October 27, 2009, can be set by the Court.
23
           As of August 19, 2009, Mr. Juan Mendoza-Corrales had a new attorney
24
     appointed to represent him in this matter. (See Docket # 141)
25
           The Court’s courtroom deputy, Mr, Harry Vine, has been contacted to ensure
26
     the Court’s calendar was available for judgment and sentence on that date and the
27
28                                             1
       Case 2:08-cr-00454-JAM Document 160 Filed 09/02/09 Page 2 of 2


 1   Court is available on Tuesday, October 27,2009.
 2         It is so stipulated and agreed.
 3
 4                                    LAWRENCE G. BROWN
                                      ACTING UNITED STATES ATTORNEY
 5
                                      /s/ Michael Beckwith by telephone authorization
 6
     DATED: 9-01-09                   _____________________________________
 7                                    Michael Beckwith
                                      ASSISTANT UNITED STATES ATTORNEYS
 8                                    ATTORNEYS FOR THE PLAINTIFF
 9
10   DATED: 9-01-09                   /s/ James R. Greiner
                                      _______________________________________
11                                    James R. Greiner
                                      Attorney for Defendant
12                                    Jeremy Vaughan
13
14                                           ORDER
15
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
16
17
18
     DATED: September 2, 2009.
19
20
21
22
                               /s/ John A. Mendez
23                             JOHN A. MENDEZ
                               UNITED STATES
24                             DISTRICT COURT JUDGE
25
26
27
28                                              2
